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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK

MICHAEL L. FERGUSON, MYRL C.                   Case No. 1:17-cv-06685-ALC-BCM
JEFFCOAT and DEBORAH SMITH,
individually and as representatives of a class
of similarly situated plan participants and
beneficiaries, and on behalf of the DST
SYSTEMS, INC. 401(K) PROFIT SHARING
PLAN,

             Plaintiffs,

      v.

RUANE CUNNIFF & GOLDFARB INC.,
DST SYSTEMS, INC., THE ADVISORY
COMMITTEE OF THE DST SYSTEMS,
INC. 401(K) PROFIT SHARING PLAN and
THE COMPENSATION COMMITTEE OF
THE BOARD OF DIRECTORS OF DST
SYSTEMS, INC.,

             Defendants.


MICHAEL L. FERGUSON, MYRL C.                   Case No. 1:20-cv-07092-ALC-BCM
JEFFCOAT and DEBORAH SMITH,
individually and as representatives of a class
of similarly situated plan participants and
beneficiaries, and on behalf of the DST
SYSTEMS, INC. 401(K) PROFIT SHARING
PLAN,

             Plaintiffs,
                                           PLAINTIFFS’ MOTION FOR FINAL
      v.                                   APPROVAL OF CLASS ACTION
                                           SETTLEMENT AND AWARD OF
ROBERT D. GOLDFARB,                        ATTORNEYS’ FEES AND EXPENSES
                                           TO CLASS COUNSEL, FOR APPROVAL
             Defendant.                    OF CASE CONTRIBUTION AWARDS
                                           AND FOR RELATED RELIEF
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       Plaintiffs, Michael L. Ferguson, Myrl C. Jeffcoat and Deborah Smith (“Plaintiffs”),

hereby respectfully move the Court for entry of an order granting final approval of the proposed

Settlement of these actions and related relief. The Settlement Agreement dated July 14, 2023

and Exhibits thereto (including class notices; proposed preliminary and final approval orders; a

former participant rollover form; the Joint Stipulation of Settlement and Release of Claims to be

filed in the action captioned Su v. Ruane, Cunniff & Goldfarb Inc., et al., No. 19-cv-09308-ALC-

BCM, brought by the Secretary of Labor; and a list of individuals excluded from the Settlement

based on their status as fiduciaries of the Plan) have been filed with the Court as Exhibit 1 to the

Declaration of Laurie Rubinow in connection with Plaintiffs’ Motion for Preliminary Approval

dated July 14, 2023 (ECF No. 471).

       For the reasons explained in the accompanying Memorandum of Law and all grounds

apparent on the basis of the proposed Settlement and Exhibits, accompanying papers, and the

record in these actions, Plaintiffs respectfully submit that the proposed Settlement warrants final

approval.

Dated: October 3, 2023                Respectfully submitted,

                                      /s/ Laurie Rubinow
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